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                IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

HOLLIE K. WIGGINS and LARRY F.
WIGGINS, JR.,

                         Plaintiffs,

V.                                           Civil Action File No.: STCVI 100507
BELK'S DEPARTMENT STORE OF
SAVANNAH, GA, INC.,

                       Defendant.


                             NOTICE OF REMOVAL

       COMES NOW, Belk, Inc. (improperly named as Belk's Department Store of

Savannah, GA, Inc.), Defendant in the above-styled case, and within the time

prescribed by law, files this Notice of Removal, and respectfully shows to the

Court the following facts:

                                        1.

       Plaintiffs HolTie K. Wiggins and Larry F. Wiggins filed suit against Belk,

Inc. (improperly named as Belk's Department Store of Savannah, GA, Inc.), in the

State Court of Chatham County, State of Georgia. This suit is styled as above and

numbered Civil Action File No. STCVI 100507 in that Court. In their Complaint



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for Damages, Plaintiffs seek a judgment against Belk in the amount of

$380,000.00, collectively.

                                        '1

      The sole named Defendant, Belk, Inc, (improperly named as Belk's

Department Store of Savannah, GA, Inc.), is a Delaware corporation. Belk, Inc. is

not a citizen of the State of Georgia, was not a citizen of the State of Georgia on

the date of filing of the aforementioned civil action, and has not since become a

Georgia citizen.

                                         3.

      Upon information and belief, Plaintiffs Hollie K. Wiggins and Larry F.

Wiggins, Jr. are residents of the State of Tennessee, Neither Plaintiff Hollie K.

Wiggins nor Larry F. Wiggins, Jr. was a citizen of the State of Delaware on the

date of filing of the aforementioned civil action, and neither has since become a

Delaware citizen.       -



      As shown above, the amount in controversy exceeds the sum of $75,000.00,

exclusive of interest and costs.

                                         5.

      The aforementioned civil action is a civil action of which this Court has


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original jurisdiction under the provisions of 28 U.S.C. § 1332 and, accordingly, is

one which may be removed to this Court by Defendant/Petitioner pursuant to the

provisions of 28 U.S.C. § 1441, in that it is a civil action in which the matter in

controversy exceeds the sum of $75,000.00 exclusive of interests and costs, and is

between citizens of different states.

                                         r.i

      Belk, Inc. contends it has not yet been properly served with the Summons

and Complaint; however, the docket of the State Court of Chatham County reflects

a service date of March 3, 2011. This Notice is filed within thirty days thereof

pursuant to the requirements of 28 U.S.C. § 1446(b).

                                         7,

       Defendant has attached hereto copies of all process, pleadings and orders

allegedly served upon it in this case, such copies being marked Exhibit "A". In

addition, Defendant shows that it has already answered the lawsuit in the state

court action referenced above and a copy of that Answer is attached hereto as

Exhibit "B". There are no motions pending in the State Court of Chatham

County, Georgia at the time of filing this Notice of Removal.



       Venue properly rests in the Savannah Division of the United States District


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Court of the Southern District of Georgia, as this case is being removed from the

State Court of Chatham County, Georgia, which sits in the Savannah Division of

United States District Court for the Southern District of Georgia. A Notice of

Filing Notice of Removal to Federal Court will be filed with the State Court of

Chatham County, Georgia.

      WHEREFORE, Belk, Inc. prays that the case be removed to the United

States District Court for the Southern District of Georgia, Savannah Division,

      This    1     day of April, 2011.

                                               Respectfully submitted,

                                               OLIVER MANER, LLP
                                                             r)

                                                 ----
                                               Benjamin M. Perkins
                                               Georgia State Bar No.: 140997
                                               Attorneys for Defendant
OLIVER MANER, LLP
218 West State Street -
Savannah, Georgia 31412
Phone: (912) 236-3311

                                               HICKS, CASEY & FOSTER, P.C.



                                               Erica L. Morton
                                               (pending Pro Mac Vice admission)
                                               Georgia State Bar No.: 140869
                                               Attorne ys for Defendant

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HICKS, CASEY & FOSTER, P.C.
136 N. Fairground Street
Marietta, Georgia 30060
Phone: (770) 428-1000
Fax: (770) 428-4684




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                           IN TI-LB STATE COURT OF CHATHAM COUNTY
                                        STATE O] GEORGIA
                                                                                           :r..
                                                                                    C
  HOLLIE K. WIGGINS and LARRY F.                                                            I
  WIGGINS. Jr.                                                                                    :i

              P)ninttff                                                                   'U
                                                                                          en
                                                                                          cc
  vs.                                                 CIVIL ACTION NO.:

  BELK'S DEPARTMENT STORE OF
  SAVANNAH GA, INC.


              Defendant.

                                                SUMMONS

              TO: Belk's Department Store of Savannah GA Inc.
                    Oglethorpe Mall
                    7804 Abercorn St.
                    Savannah, GA

  You are hereby summoned and required to ±IIa with the Clerk of said Court and serve upon the
  Plaintiffs attorney whose name and adthes is

                                          Arnold C Young
                                  Hunter Maclean Exley & Du pn, P.C.
                                           P.O. Box 9848
                                      Savannah, Georgia 31412

  and answer to the Complaint which is herewith served upon you, within 30 days after service of
  the swrirnons upon you, exclusive of the day of service. If you fail to do so, judgment by default
  will be taken against you for the relief demanded in the Complaint.

  Served with the Complaint and Sununonse 21ainti.ffs First Interrogatories and First Request
  for Production of Documents.

              This a day of March, 2011.


                                                       •Bthan K. Hart
                                                       Clerk of State Couii
                                                       CHATI'AM COUNTY

                                                       By:



         -I
                                                EXHIBIT

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                       IN THE STATE COURT OF CHATHAM COUNTY
                                  STATE OF GEORGIA
                                                                                     N      -
HOLLIE K. WIGGINS and LARRY F.                     )
WIGGENS, Jr.,                                      )
                                                   )                                  '.1
                                                                                            7
         Plaintiffs                                )                                        ,
vs.                                                ) CIVIL ACTION NO.:
                                                                  YC'JflOB5Q7
BELK'S DEPARThIENT STORE OF                        )
SAVANNAH GA, INC.                                  )
                                                   )
       _Defendant,

                                  COMPLAINT FOR DAMAGES

         Come now Hollie K. Wiggins and Larry F. Wiggins, Jr., and show the Court the

following:

                 Belk's Department Store of Savannah GA, Inc. (hereafter "Belk's") is a

cQipOra.tin incorporated under the laws of Georgia with its principal place of business in

Savannah, Chathazu County, Georgia at Oglethorpe Mall and is subject to the jurisdiction of this

Court

         2,      On December 26, 2009, Hollic K. Wiggins (9-lollie") was a customer at Belk's

Department Store at Oglethorpe Mall, Savannah..

         3.      Venue of this lawsuit is proper in this Court.

         4.      Pursuant to O.C.Q.A. § 51-31-I, as owner or occupier of Bells Oglethorpe Mall

store is 1ib1e to persons who are on such premises as shoppers or customers for injuries caused

by Bells failure to use ordinary care in keeping its premises safe,

         5.      Hollie Wiggins was shopping on the Belk's premises, the second floor thereof, on

December 26, 2009 and was there injured by reason of Bells negligence in failing to keep its




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premises safe by reason of placement of or in rnaintairthig Qi both of a raised floor electrical

outlet.

          6.        While waildng in a carpeted areri where customers were expected and intended to

walk, HoUie Wiggms tripped on an electrical floor outlet that was substantially raised above the

level of the carpeted area where she was walki.g and, as a result, she fell and sustained serious

injuries, including fractured bones in the right loot/snide.

          7.        The sole and exclusive cause of JoUie tripping and the resultant injury was the

negligence of Balk's in maintaining the raised cutlet in a walk area in which it was expected and

intended customers would wallc, and which the electrical loor outlet created a "tripping" hazard,

          8.        As a result of the incident referred to (tripping on the electrical device) Plaintiff

Hollie Wiggins' ankle/foot was fractured and she incurred medical expenses exceeding

$35,000.00.

          9.        Further, as a result her injuries, Hollie Wiggins was entirely disabled from work

for several months and remains partially disablei and for which be is entitled to damages.

          10.       1-loIlie Wiggins, as a result of the injury described, has been and continues to be

restricted in her personal activities and such incapaoitie will exist for her lifetime.

          11.       Hollie Wiggins suffered and cor.tinues to have pain and suffering and inabilities

to do work and activities -which she enjoyed before the injury, and such paint suffering and

inabilities are permanent and are of both mind and body.

          12.       Larry Wiggins, as husband of lullie Wiggins, was and continued to be damaged

by reason of the loss of compaiinsbip and services of his wife and for which he is entitled to be

compensated.




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                13, Tie injury to Hoffie Wiggins togeter with all expcnses loss of income past and

      future, pain and suffering and the loss of consortium of Larry Wiggins were caused solely and

      exclusively by the negligence of Bells and for winch Bells has sole responsibility.

                WWEREFORE:

                A.        Hoilie Wiggins demands judgment from Bells in the just amount of $300,000;

                          and

                B.        Larry Wiggins demands judgment from Bells in an amount of $80,000; and

                C.        Plaintiffs demand that all costs be cast upon Defendant.

                Thisday of March, 2011.

                                                           HUNTER MACLEAN EXLEY & DIJNN, P.C.



                                                          4     Am 1 C. Young
                                                                Georgia Bar No. 781500
                                                                Attorney for blue K. Wiggins and
                                                                Larry F. Wiggins, Jr.

       200 E. Saint Julian St.
       P.O. Box 9848
       Savannah, GA 31412-0048
       912-236-0261
        yowJ1untrmaelean.cQ




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                             IN TEE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

 }OLL1E K W1GONS and LARRY P                       )
 WIOGINS,Jr.,                                      )

             plaintiffs                            )
 VS.                                               )   CIVIL ACTION NO:

 BELK'S DEPARTMENT STORE OF                        )
 SAVANNAH GA, INC.                                 )
                                                   )
       -         endant.                           )

                          FLAThWFF'S FIRST CONt(NUIN( INTERROGATORIES TO
                              DEJE1MNT BELIQS DEPARTMJNT STORE OF
                                         SAVAN.NABGA, INC.



             COMES NOW HOLUE K. WIGGINS, ("Plaintiff'), Plalntiff herein., and propound

 these Interrogatories to Defendant Belk's Department Store of Savannah, Inc. ("Defendant" and

 sometimes "Balk's"). Pursuant to O.C,G.A. 9-11-33, Defendant is requited to answer

 interrogalories separately and fi1iy in writing 'inder oath and to serve a copy of your answers

 upon couusel for the Plaintiff within forty-five (45) days aier service of these hitcrrogatories on

 you in this action.

             NOTE A: The term "Belk' " when used without other descriptive words refers to the

 departncnt store called Belk's and owned or operated by Balk's Department Store of Savannah

 OA, Inc. at Oglethorpe Mall, Savannah, Georgia.

             NOTE B:         These Interrogatories shall be deemed continuing. Supplemental and

 amended responses are required to the full exWnt provided in 0 C GA. § 9-11,26(c).

             NOTE C: 'The terms "subject incident," "acident,' "collision' or stinilar tenms mean

 the incident which occurred on December 26. 2009, when Plaintiff tripped on an electrical outlet

  located in the Defendant's place of business,


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                           IN THE STATE COVET OF CHATHAM COUNTY
                                     STATE OF GEORGIA
                                                                                                  cJ
HOLLIE K. WIGGINS and LARRY V.                                                                r
                                                   )
WIGGINS, Jr.,                                      )
                                                   )
            Paintiffs                              )                                          J1-
                                                   )                                          co
vs,                                                )   CIVIL ACTION NO.:
                                                   )               Cnoo5c7
BELK'S DEPARTMENT STORE OF                         )
SAVANNAH GA, INC.                                  )
                                                   )
            Defendant.

                        PLAINTIFF'S FIRST CONTINUING INTERROGATORIES TO
                            DEFENDANT BELK'S DEPARTMENT STORE OF
                                         SAVAA11 GA. INC.


            COMES NOW HOLLIE K. WJ(G1NS, ('Plaintiff"), Plaintiff herein, and propound

these Intcrrogatories to Defendant Belk's Department Store of Savannah, Inc. ("Defendant" and

 sometimes "Bells"). Pursuant to O.C.G.A. § 9-11-33, Defendant is required to answer

 Jriterrogatories separately and tolly in writing under oath and to sem. a copy of your answers

 upon cori.nsel for the Plaintiff within forty-five (45) days after service of these Interrogatories on

 you in this actiori

            NOTE A: The term "Belk' s" when used without other descriptive words refers to the

 department store called Bells and owned or operated by Belk's Department Store of Savannah

 GA, Inc., at Oglethorpe Mall, Savannah, Oeor1a.

            NOTE B:        These Interrogatories shall be deemed continuing, Supplemental and

 amended responses are required to the full extent provided in O.C.O.A. § 9-11-26(e).

            NOTE Ct The terms "subject incidet" "accident," "collision" or similar terms mean

 the incident which occurred on December 26,'Z009, when Plaintiff tripped on all electrical outlet

 located iu the Defendant's place of business.

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         NOTE D .      The term electrical floor out1et' as used in these interrogatories and the

Request to Produce served conteinporaneousb refers to electrical outlets that are installed

through both carpet and/or through tile, with hinged coverings over female plug(s). Attached as

Exhibit is such a device whicth is installed in carpet. Included in the term "electrical floor
outlet" are similar devices that are installed in tile or cement.

         NOTE E The terms "you" or "your," or any synonym thereof, refers to the

Defendant, his or her employees, agents, insurers, represeitatives, independent contractors,

consultants, attorneys, and any other persons act-mg on his or her' behalf.

         NOTEF          "Identify"means:

                (a)     with respect to any "person" who is an individual, to provide the name,

         present or last-known residence address, present or lastknown residence telephone

         ninnber, present or last-known employer or business affiliation, present or last-known

         business address, and present or last-known business telephone number of each person

         mentioned

                 (b)    with respect to an institution, business group or ether vrganizatioil 1 to

         provide the current or last-known complete name, address, and telephone number; and

                 (c)    with respect to any "document," to provide (irrespective of whether the

         document is subject to any claim privilege) the title or other means of identification of

         each such document, the date of each document, identify the author, the names of all

         rccipients of each document and identify all persons who have eustødy, control, or

          possession of each such document or c pies of it.
           TOTE G; If you claim privilege or non-discoverability as to any document or

 communication requested by these Iriterroatc'ri-es, specify the privilege claimed, the reason for

 the non-discoverabihty, the document, corumanication and/or answer as to winch that claim is

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made, the topic discussed in the document or communication, and tlie basis on which you assert

that claim.

                                        jNTERQGAToRiES

          1.    Please state the number of electrical outlets which are located in carpeted areas of

the first and Second floors of Eelks.

        2.      Describe with specificity the locations of each electrical floor outlet on the second

floor of Balk' s; alternatively, please provide a drawing which identified each such location.

        3.      Indentify with sufficient description to support a request for production of

documents each incident report or other documentation by whatever name that provides

information concerning injuries or alleged injmies to persons contended to have been the result

of tripping on an electrical floor outlet at Belk's since January 1, 1995, or,       if such are not

available, for as far back as can be identified.

        4.      identify each and every claim fo itjuiy made by any person alleged to be caused

by tripping on an electrical floor outlet at Belk's since January 1, 1920..

        51      State the name of each person employed, by elk's who on or within five (5) days

after December 26, 2009, was aware of the fact Df Plaintiff's injury.

          6.    State the name of the persons employed by Beik's who spoke to and helped

Plaintiff after she tripped and fell on December 26, 2009.

        7.      Please describe each statement, memorandum or other document created by any

employee of Belk's concerning the trip and fall of Plaintiff on December 26, 2009 as well as any

written report or information provided by Plaintiff to B elk's.

          8.    State the names, present addressas, and whether presently employed by Befic's as

fohlows

          (a)   The Store Manager.

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          (b)    Th.e Assistant Store Managers;

          (c)    The person who is charged with responsibility for safety of persons at elk's,

                 both employees and customers.

          9,     State how and why the particular type of electrical floor outlet was selected for

use.

          10. Describe fully the relationship between and among Belk's, and Risk Enterprise

Management Limited,, and Belk's, Inc. (N.Y. Stock Exchange symbol LKIA) insofar as

response to injuries to persons on the premises of Belk's.

          11 Describe fully the relationship of Belk's and Belk, Inc. (N.Y. Stock Exchange

Symbol RLKIA), including, without limitation, the control over Belk's operations that Belk, hic.

exercises.

          12. Please describe the relationship of BeLks with Belk Stores Insurance Reciprocal

which is reflected in the records of the Georgia Secretary of State as a Foreign Insurance

Company.

          13.    For each person whom Defenclaxtt expects to call as an expert witness at the trial

of the within natter, please state the following:

          (a)    Give each person's office address and specialty, if any;

          (b     State the subject matter on whiob said persons are expected to testify;

          (c     State the substance of the facts and opinions to which such experts are expected to

                 testify.

          14. State the location of every dcpartnient store that uses the name "Belk's" that is a

corporate part of or Belk's Department Store o:r Savannah, GA, Inc. [NOTE: According to the

Georgia Secretary of State, numerous corporthons that utilize the "Belks" name have been

merged into Belk' s Department Store of Savanr,ah GA, Inc.)

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               15.   State the name and address and title of   the officers of Balk's Department Store of

  Savannah, GA, Inc.

               16,   State the name and address and title of the person who has specific responsibility

  for safety of customers at Balk's.

               17. Please describe all manuals, parrpblets and other printed material in custody of

  Defendant which either require or recommend prcedures for saty of customers at premises

   operated by Defendant, inc1ding, specifically, all such mexmls 1 pamphlets ani other printed

  materials provided by Belk'; Inc. (NYSE BLKXA) or any of its subsidiaries or related entities to

  Bell' a.

               13. Please describe with particularity the rules, procednres and reporting forms which

   Defendant uses or follows concerning procedures to be followed by Defendant in instances

   wherein customers are injured on the premises of Defendant.

               19. . Please provide the name(s) or title(s) of each manual, pamphlet or directive in

   possession of Defendant that prescribes either or both safety procedures and practices to be

   followed at Defendant's premises which relate to safety of persons, employees, vendors and

   customers.


               This day of March, 2011.
                                                      HUNTER MACL]AN EXLEY & DUNN, P.C.


                                                      By-.
                                                      Axnold C.¼Yuag
                                                      Oeorga BarNo. 781500
                                                      Attorney for Rollie K. Wiggins




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200 E Saint Julian St
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                                                               18 of 18
                                                                     30of 30




                           IN THE STATE COURT OF CR&THAM COUNTY
                                     STATE OF GEORGIA

 HOWE K. WIGGINS and LARRY F.                       )
 WIG(3IN Jr.,                                       )
                                                                                       \r    N.J
                                                    I
           Plaintiffs)

 vs.                                                ) CiVIL ACTION NO.:
                                                                           Y)Cl5OI
 BELK'S DEPARTMENT STOU OF
 SAVANNAH GA, INC.

           Defondant



                                         OFSM1ANNAE INC.

           COMES NOW HOLLIE K WiGGINS ("Plaintiff'), Plaintiff herein, through counsel,

 and files this Request for Production of Documents to Defendant BELK' S DEPARTMENT

 STORE OF SAVANNAH GA, INC. ("Defendant" and sometimes "Belks"). Pursuant to

 O.C.G.A § 9-11-34, Defendant is required to comply with these Code sections by producing and

 permitting Plaintiff a attorneys to inspect and copy each of the following documents within forty-

 five (45) ays after service of this Request in this action.

                                            DEJ'Th1ITXONS

           As used herein, the terms listed below ac de±lned as follows:

           A.     "Person" means any natural person, corporation, partnership, proprietorship,

 association, organization, or group of persons.

           B.     'Document" means all witings, drawings, graphs, charta, photographs, phone

 records, and other data compilations from winch information can be obtained, translated, if

 necessary, by the respondent through dteotion devices into reasonably usable form, of every

 type and description that is in your possession or control (including but not lhnited to

 correspondence, memoranda, tapes stenographic or handwritten notes, studies, reports,
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publicatior.s, computer records, invoices, purchase orders, shippi ig orders, bills of ls4irig,

acknowledgments, surveys, diagrams, plans, specifications, work orders inspections, quality

control records, etc.); every copy of every such writing or record where such copy contains any

commeutay or notation whatsoever that does nO appear on the original.

         C. The terms 'subject Incident," "accident," or similar terms mean the incident which

occurred on December 26, 2009, when Plaintiff Rollie K. Wiggins tripped on an electrical outlet

in Bells Department Store of Savannah, Georgia, 1tic

         I).    "Electrical floor outlet" is as described in 'Note 0" to Plaintiff's First

Interrogatories and including Exhibit A thereto

         E.     'Belks" refers to the department store at Oglethorpe Mall, Savannah, Georgia,

owned and/or operated by Bells Department Store of Savannah, OA Inc.

         F.     If you claim privilege or non-discoverability as to any document or

coinimmication requested by these Requests, specify the privilege claimed, the reason for the

non-disccverability, the document, communication and/or answer as to which that claim is made,

the topic discussed in the document or conmunication, and the basis on which you assert that

claim.

                     1iUE! FOR PRODUCTION OF DOCUMETh

         I.     Each and every document described or referred to in your response to the First

Continuing Interrogatories served contemporaneously herewith,

         2.     Please produce copies the inciJeat (or document by whatever name) that was

made by employees of Bells that concerns the injury to Plaintiff on December 26, 2009-

          3.    All statements made and all, photographs mad.e by employees of Bells

 concerning the trip and fall incident involving ?laintiff.




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                                             04/04/11 Page Page
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contempor.meousy herewith in addition to documents and things requested by other of these

Requests for Production.

        This"day of March, 2011.

                                             UUNTER. MACLEAN EXLEY & DUNN, P.C.




                                             By xno1 C, ong         2
                                               Georgia r. 781500
                                               Attorney fir-o11ie K. Wiggins

200E. Saint Julian Sr.
P.O Box 9848
Savarinah GA 31412-0048
912-236-0261
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               RULE 32 CERTJFJCATION AND STANDING ORDER NOTICE


Pursuant 1:0 rule 3.2 and 34 of the Uniform Supcior Court Rubs, 1 hereby certify that:
                                                     Court or Superior Court of the Easteru
 [    no case had heretofore been filed in the State
      J ]

Judicial Circuit involving substantially the same parties or substantially the same subject matter
of substantially the same factual issues which would require the petition-pleading to be
specifically assigned to the judge whom the original action was or is assigned.

                                                   OR


 [] this petition-pleading involves substantially the same parties or substantially the same
 subject matter or substantially the same factual .ssues as in case No. -.

                                       (Plaintiff) ,is.                                (Defendant)


               TEJlStD     OF March, 2011.



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                                                           22 of 22
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                   IN THE STATE COURT OF CHATHAM COUNTY
                              STATE OF GEORGIA

 HOLLIB K. WIGGINS and LARRY F.
 WIGGiNS, JR.,

                         Plaintiffs,

 V.                                           Civil Action File No,: STCVI 100507

 BELK'S DEPARTMENT STORE OF
 SAVANNAH, GA, INC.,

                       Defendant


           DEFENDANT'S ANSWER AND DEFENSES TO PLAINTIFFS'
                      COMPLAINT FOR DAMAGES

       COMES NOW Defendant, Belk, Inc. (improperly named as Belk's Department

Store of Savannah, GA, Inc.) and files this Answer and Defenses to Plaintiffs' Complaint

for Damages and shows this Honorable Court as follows:

                                       FIRST DEFENSE

       Belk's Department Store of Savannah, GA, Inc. is not a Valid, existing legal entity

subject to suit.

                                   SECOND DEFENSE

       Belk's Department Store of Savannah, GA, Inc. is not a proper party to this action

                                       THIRD DEFENSE

       Plaintiffs' Complaint should be dismissed for lack of jurisdiction over the person

of Defendant.


                                         EXHIBIT
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       4:11-cv-00088-BAE-GRS   Document
            4:1 1-tc-05000 Document      1 Filed
                                    19 Filed     04/04/11
                                             04/04/11 Page Page
                                                           23 of 23
                                                                 30of 30




                                  FOURTH DEFENSE

       Plaintiffs' Complaint should be dismissed for insufficiency of process and service

of process.

                                   FIFTH DEFENSE

       Defendant is not liable to Plaintiffs because it breached no duty owed to Plaintiffs

as alleged in the Complaint for Damages or otherwise.

                                   SIXTH DEFENSE

       No act or omission on the part of Defendant was the proximate cause of the

injuries or damages sought by way of Plaintiffs' Complaint for Damages or otherwise.

                                 SEVENTH DEFENSE

       Plaintiffs are not entitled to recover from Defendant because Plaintiff HoWe

Wiggins' knowledge of the alleged hazard was at least equal to any knowledge of

Defendant.

                                  FIGITH DEFENSE

       To the extent that any hazardous condition existed on the premises of Defendant,

such condition was open and obvious to Plaintiff Hollic Wiggins and therefore Plaintiffs'

recovery is barred.

                                   NINTH DEFENSE

       Plaintiffs' Complaint for Damages fails to itemize special damages as required by

O.C.G.A. § 9-11-9(g).




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       4:11-cv-00088-BAE-GRS   Document
            4:1 1-tc-05000 Document      1 Filed
                                    19 Filed     04/04/11
                                             04/04/11 Page Page
                                                           24 of 24
                                                                 30of 30




                                   TENTH DEFENSE

       To the extent the damages sought by way of Plaintiffs' Complaint for Damages

were solely the result of Plaintiff Hollie Wiggins' negligence, Plaintiffs' recovery against

Defendant is barred.

                                ELEVENTH DEFENSE

       To the extent the damages sought by way of Plaintiffs' Complaint for Damages

were the result of Plaintiff Hollie Wiggins' comparative negligence, Plaintiffs' recovery

against Defendant is barred or should be reduced by the proportion of her negligence.

       Without waiving any of the foregoing defenses and incorporating each as if set

forth herein verbatim, Defendant responds to the allegations contained in Plaintiffs'

Complaint for Damages as follows:

                                             1.

       Defendant denies the allegations contained in Paragraph 1 of Plaintiffs' Complaint

for Damages.

                                             2.

       Defendant denies, as pled, the allegations contained in Paragraph 2 of Plaintiffs'

Complaint for Damages.

                                             3.

       Defendant admits the allegations contained in Paragraph 3 of Plaintiffs' Complaint

for Damages.




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       4:11-cv-00088-BAE-GRS   Document
            4:1 1-tc-05000 Document      1 Filed
                                    19 Filed     04/04/11
                                             04/04/11 Page Page
                                                           25 of 25
                                                                 30of 30




                                               4.

       Defendant denies, as pled, the allegations contained in Paragraph 4 of Plaintiffs'

Complaint for Damages.

                                               5.

       Defendant denies the allegations contained in Paragraph 5 of Plaintiffs' Complaint

for Damages.

                                               [iii


       Defendant is currently without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 6 of Plaintiffs' Complaint

for Damages and therefore cannot admit or deny same.

                                               7.

       Defendant denies the allegations contained in Paragraph 7 of Plaintiffs' Complaint

for Damages.

                                               8.

       Defendant is currently without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 8 of Plaintiffs' Complaint

for Damages and therefore cannot admit or deny same; however, Defendant expressly

denies any liability for injuries or damages to either Plaintiff,



       Defendant is currently without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 9 of Plaintiffs' Complaint




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       4:11-cv-00088-BAE-GRS   Document
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                                    19 Filed     04/04/11
                                             04/04/11 Page Page
                                                           26 of 26
                                                                 30of 30




for Damages and therefore cannot admit or deny same; however, Defendant expressly

denies any liability for injuries or damages to either Plaintiff.

                                              10,

       Defendant is currently without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 10 of Plaintiffs' Complaint

for Damages and therefore cannot admit or deny same; however, Defendant expressly

denies any liability for injuries or damages to either Plaintiff.

                                              11.

       Defendant is currently without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 11 of -Plaintiffs' Complaint

for Damages and therefore cannot admit or deny same; however, Defendant expressly

denies any liability for injuries or damages to either Plaintiff.

                                              12.

       Defendant is currently without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 12 of Plaintiffs' Complaint

for Damages and therefore cannot admit or deny same; however, Defendant expressly

denies any liability for injuries or damages to either Plaintiff.

                                               13.

       Defendant denies the allegations contained in Paragraph 13 of Plaintiffs'

Complaint for Damages.

       Defendant denies the allegations set forth in Plaintiffs' ad damnum and all

subparts thereof.


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       4:11-cv-00088-BAE-GRS   Document
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                                    19 Filed     04/04/11
                                             04/04/11 Page Page
                                                           27 of 27
                                                                 30of 30




       Any allegations contained in Plaintiffs' Complaint for Damages not herein

responded to by number are hereby denied,

       WHEREFORE, Defendants pray that they be discharged without liability and

that all costs of this action be cast against Plaintiffs,

       Defendants Demand a Trial by Jury.

       This 1 day of April, 2011.
                                                     Respectfully submitted,


                                                     HICKS, CASEY & FOSTER, P.C.




                                                     William T. Casey, Jr.
                                                     Georgia State Bar No.: 115610
                                                     Erica L. Morton
                                                     Georgia State Bar No.: 140869
                                                     Attorneys for Defendant

HICKS, CASEY & FOSTER, P.C.
136 N. Fairground Street, N.E.
Marietta, Georgia 30060-1533
(770) 428-1000
(770) 428-4684 - facsimile
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                                             04/04/11 Page Page
                                                           28 of 28
                                                                 30of 30



                IN THE STATE COURT OF CHATHAM COUNTY
                           STATE OF GEORGIA

 HOLLIE K. WIGG[NS and LARRY F.
 WIGGINS, JR.,

                         Plaintiffs,

 V.                                           Civil Action File No.: STCV1 100507

 BELK'S DEPARTMENT STORE OF
 SAVANNAH, GA, INC.,

                       Defendant.


                             CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and foregoing

Defendant's Answers and Defenses to Plaintiffs' complaint for Damages upon all

parties to this matter by depositing a true copy of same in the United States Mail, proper

postage prepaid, addressed to counsel of record as follows:

                             Arnold C. Young, Esq.
                    HUNTER, MACLEAN, EXLEY & DUNN, PC,
                            200 E. Saint Julian Street
                                 P.O. Box 9848
                         Savannah, Georgia 31412-0048

       This l day of April, 2011.

                                                 Respectfully submitted,

                                                 HICKS, CASEY & FOSTER, P.C.



                                                 Erica L. Mor-tovn"o
                                                 Georgia State Bar No.: 140869
                                                 Attorney for Defendant
HICKS, CASEY & FOSTER, P.C.
136 N. Fairground Street, N.E.
Marietta, Georgia 30060-1533
(770) 428-1000 / (770) 4284684 - fax
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                                                 04/04/11 Page Page
                                                               29 of 29
                                                                     30of 30




                  IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

HOLLIE K. WIGGINS and LARRY F.
WIGGINS, JR.,

                            Plaintiffs,

 V.                                             Civil Action File No.: STCV11005 07
 BELK' S DEPARTMENT STORE OF
 SAVANNAH, GA, INC.,

                           Defendant.


                             CERTIFICATE OF SERVICE

         I certify that I have electronically filed this Notice of Removal with the Clerk of

Court using the CM/ECF (Pacer) system which will automatically send email notification

of such filing to the following attorneys of record:

                             Arnold C. Young, Esq.
                    HUNTER, MACLEAN, EXLEY & DUNN, P.C.
                            200 E. Saint Julian Street
                                 P.O. Box 9848
                         Savannah, Georgia 314120048




                                  (signature on next page)
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                                             04/04/11 Page Page
                                                           30 of 30
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     This
            L    day of April, 2011.

                                            Respectfully submitted,

                                            OLIVER MANER, LLP


                                                " , V,
                                            Benjamin M. Perkins
                                                                 P' " "
                                            Georgia State Bar No.: 140997
                                            Attorneys for Defendant
OLIVER MANER, LLP
218 West State Street
Savannah, Georgia 31412
Phone: (912) 236-3311

                                            HICKS, CASEY & FOSTER, P.C.



                                            Erica L. Morton
                                            (pending Pro Ilac Vice admission)
                                            Georgia State Bar No,: 140869
                                            Attorneys for Defendant
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Marietta, Georgia 30060
Phone: (770) 42 8- 1000
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                                       rA
